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                           UN ITED STA TES D ISTW C T C OU R T
                           SO U TH ER N D ISTRIC T O F FLO RID A
                             M IM JTES - C IV IL JUR Y TRIAL

                          H ONOR ABLE FEDERICO A.M ORENO

  CA SE N O : 18-22798-CV -M 0M N 0
  D AY #: 6
  D ATE : M onday,M arch 06,2023
  REPORTER : PatliciaDiaz
  DEPUTY CLERK : Shirley Cluistie
  CourtInterpreters: N/A
  STYL E: Cardenas etal
           V.
           Toyota M otorCop oration etal

  COUNSEL: PeterPrieto,Esq.
                David Schrader,Esq.
                Richard Hennnnn,Esq.

        a.m./p.m .-July Trial- Selection ofjurors
        V oirdire begins.
        Jury im paneled & sw ol'n.
        Openingstatementstothejury.
   X    Jury t'
              rialheld.
        ClosingArgllmentstothejury.
        Jtuy lnstructions.
        Jury D eliberating.
        M istrial.
        Jury rettunled verdict.See verdictform .
        Courttrialcontinued to




                TIM E: 7 hours45 m inutes
